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                        UNITED STATES DISTRICT COURT
                            DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA,


        v.
                                                        Criminal Action No. PX-18-0631
 SCOTT ANTHONY WILLIAMS,
 TAEYAN RAYMOND WILLIAMS,

        Defendants.


                            PRETRIAL SCHEDULING ORDER

        For the reasons stated on conference call held November 17, 2021, and with agreement of
the parties, the Court issues the following pretrial deadlines:

       February 14, 2022               Death-eligible count notification deadline—
                                       Government to advise whether it intends to seek
                                       the death penalty as to Taeyan Raymond
                                       Williams.

       February 14, 2022               Defendants to supplement/add motions          to
                                       suppress and other pretrial motions

       February 21, 2022               Government’s Omnibus Response

       March 7 - 8, 2022 at 9:30 a.m. Suppression Motions Hearing

       September 26, 2022              Motions in Limine due

       October 10, 2022                Responses to Motions in Limine; Joint Voir Dire,
                                       Jury Instructions and Verdict sheet to be filed
                                       electronically and submitted via email in
                                       Microsoft Word format to chambers:
                                       Mdd_pxchambers@mdd.uscourts.gov

                                        (Government responsible for filing; Defendants
                                       to indicate proposed changes in redline format.)

                                       Government to provide Jencks and Giglio to
                                       Defendants

       October 24, 2022 at 9:30 a.m.   Pre-trial Conference/Hearing on Motions in
                                       Limine/voir dire and jury instructions

       November 7, 2022                Trial begins. Expected length: 4 weeks
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                          (Monday – Friday)


Dated: January 19, 2022                        /S/
                                    Paula Xinis
                                    United States District Judge




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